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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-20798-WILLIAMS

  UNITED STATES OF AMERICA,
                Plaintiff,

  v.

  EDEL GUTIERREZ,
                    Defendant.
  _____________________________________/

                       DEFENDANT’S OBJECTION TO
                   PRESENTENCE INVESTIGATION REPORT

        Mr. Gutierrez, through counsel, respectfully submits his objections to the Draft

  Presentence Investigation Report (“PSI”) (D.E. 37), and in support states the

  following:

  Specific Offense Characteristic: Paragraph 45

        Mr. Gutierrez objects to the six-level enhancement to his base offense level for

  “distribution to a minor that was intended to persuade, induce, entice or coerce the

  minor to engage in any illegal act.” U.S.S.G. § 2G2.2(b)(3)(D). Mr. Gutierrez concedes

  that during his chats with the minor victim, he spoke in a sexually explicit manner,

  sent to her a photograph of his penis and requested a nude picture of her in return.

  (PSI ¶18). But those facts fall well short of proving that he distributed child

  pornography to the minor victim or sought to persuade the victim to engage in an

  illegal act. The evidence does not support this enhancement.



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  Specific Offense Characteristics: Paragraph 46

        Mr. Gutierrez objects to the five-level enhancement to his offense level for

  “engag[ing] in a pattern of activity involving the sexual abuse or exploitation of a

  minor”, U.S.S.G. § 2G2.2(b)(5). This enhancement cannot apply based on a

  defendant’s solicitation of a naked photograph from a minor victim alone. The

  Commentary to U.S.S.G. § 2G2.2 specifically excludes from the definition of “sexual

  abuse or exploitation” in subsection (5) “possession, accessing with intent to view,

  receipt, or trafficking in material relating to the sexual abuse or exploitation of a

  minor.” Id. at n. 1. Therefore, even if a minor victim complied with Mr. Gutierrez’s

  request, his mere receipt and/or possession of the picture would not suffice.

  Accordingly, the recommended enhancement should not be applied.



                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         FEDERAL PUBLIC DEFENDER

                                  BY:    s/Bunmi Lomax
                                         Bunmi Lomax
                                         Assistant Federal Public Defender
                                         Special A Number: A5501975
                                         150 West Flagler Street
                                         Suite 1700
                                         Miami, Florida 33130-1556
                                         Tel: 305-530-7000
                                         Fax: 305-536-4559
                                         bunmi_lomax@fd.org



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                         CERTIFICATE OF SERVICE

        I HEREBY certify that on November 3, 2020, electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified on the attached Service List in the manner specified,

  either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not

  authorized to receive electronically Notices of Electronic Filing.



                                       s/Bunmi Lomax
                                        Bunmi Lomax
